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     Attorneys for Defendant Chubb National
 8   Insurance Company

 9                             IN THE UNITED STATES DISTRICT COURT
10                                 FOR THE DISTRICT OF ARIZONA
11    Douglas Altschuler,                                 NO. CV-21-00119-TUC-DCB
12                            Plaintiff,                  NOTICE OF SERVICE OF
                                                          FOURTH SUPPLEMENTAL
13    vs.                                                 DISCLOSURE
14    Chubb National Insurance Company, an
      Indiana corporation,                                (Assigned to the Honorable
15                                                         David C. Bury)
16                            Defendant.
17           NOTICE IS HEREBY GIVEN Defendant Chubb National Insurance Company served
18   upon Plaintiff by e-mail on May 6, 2022, a copy of the following:
19           1.       Defendant Chubb National Insurance Company’s Fourth Supplemental
20   Disclosure Statement.
21   //
22   //
23   //
24   //
25   //
26   //
      Case 4:21-cv-00119-DCB Document 60 Filed 05/06/22 Page 2 of 3




 1   RESPECTFULLY SUBMITTED this 6th day of May, 2022.
 2                               BROENING OBERG WOODS & WILSON, P.C.
 3
                                 By: /s/ Jonathan Y. Yu
 4                                  Robert T. Sullivan
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 1                                    CERTIFICATE OF SERVICE
 2         I hereby certify that on this May 6, 2022, I electronically transmitted the foregoing
 3 with the Clerk of the Court using the CM/ECF system for filing, with copies submitted
 4 electronically to the following recipients:
 5
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 9                                      Attorneys for Plaintiff
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11   By /s/ Nicole J. Smith
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